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 6
 7
                               UNITED STATES DISTRICT COURT
 8
                              SOUTHERN DISTRICT OF CALIFORNIA
 9
                                 (HON. JANIS L SAMMARTINO)
10
     UNITED STATES OF AMERICA,        )              CASE NO. 21cr3352-JLS
11             Plaintiff,             )
                                      )
12    v.                              )             NOTICE OF
                                      )             WITHDRAWAL OF DOCUMENT #38
13                                    )
      DENNY BHAKTA                   )
14            Defendant.             )
     ________________________________ )
15
           PLEASE TAKE NOTICE THAT item #38 is being withdrawn as it was filed in
16
     error. The correct (signed) document is filed as item #39.
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21   August 10, 2022                                              s/Sandra Resnick
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